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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,


                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     05-CR-6062L

                       v.

ONEL MEDINA-SOSA,

                              Defendant.
________________________________________________


       Defendant moves (Dkt. #181and Dkt. #190), pro se, for an order pursuant to FED . R. CRIM .

P. 41(g) for the return of property. The Government responded to defendant’s motions (Dkt. #195).

       For the reasons advanced by the Government in its response, I deny the motions. The

property that defendant seeks to be returned was seized not by an agency of the Federal Government

but by the Rochester City Police Department. Based on the authority cited by the Government, this

Court has no jurisdiction to order the return of property that was not, and is not, in the possession

of the United States or one of its agencies.



                                          CONCLUSION

       Defendant’s motions (Dkt. #181 and Dkt. #190) for the return of seized property are in all

respects denied.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge
Dated: Rochester, New York
       April 5, 2011.
